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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal   Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     MIHRAN MELKONYAN
6
7
                               UNITED STATES DISTRICT COURT
8
                               EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,              )   No. 2:14-cr-083 KJM
                                            )
11                    Plaintiff,            )   STIPULATION TO CONTINUE
                                            )   MOTION FOR BAIL REVIEW AND TO
12          v.                              )   EXCLUDE TIME
                                            )
13   MIHRAN MELKONYAN,                      )   Date: May 19, 2015
                                            )   Time: 2:00 p.m.
14                    Defendant.            )   Judge: Hon. Dale A. Drozd
                                            )
15                                          )
16
            IT IS HEREBY STIPULATED by and between the parties hereto through
17
     their respective counsel, Matthew Yelovich and Michael D. Anderson, Assistant
18
     United States Attorneys, attorneys for Plaintiff, Heather Williams, Federal
19
     Defender, through Assistant Federal Defender Matthew C. Bockmon, attorney for
20
     Mihran Melkonyan that the Motion for Bail Review hearing date of May 18, 2015
21
     be continued one day to May 19, 2015 at 2:00 p.m. before the Honorable Dale A.
22
     Drozd.
23
24
            The continuance is requested due to the unavailability of the Pretrial

25
     Services Officer on May 18, 2015.

26
            Based upon the foregoing, the parties agree time under the Speedy Trial Act

27
     should be excluded of this order’s date through and including May 19, 2015;

28
     pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and

      Stip to Continue                          -1-                 US v. Melkonyan, 14-083 KJM
      Motion for Bail Review
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1    General Order 479, Local Code T4 based upon continuity of counsel and defense
2    preparation.
3    DATED: May 12, 2015                 HEATHER E. WILLIAMS
4                                        Federal Defender

5                                        /s/ Matthew C. Bockmon
6                                        MATTHEW C. BOCKMON
                                         Assistant Federal Defender
7                                        Attorney for MIHRAN MELKONYAN
8
9    DATED: May 12, 2015                 BENJAMIN B. WAGNER
10                                       United States Attorney
11                                       /s/ Matthew Yelovich
12                                       MATTHEW YELOVICH
                                         Assistant U.S. Attorney
13
                                         Attorney for Plaintiff
14
     DATED: May 12, 2015                 BENJAMIN B. WAGNER
15
                                         United States Attorney
16
                                         /s/ Michael D. Anderson
17
                                         MICHAEL D. ANDERSON
18                                       Assistant U.S. Attorney
                                         Attorney for Plaintiff
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      Stip to Continue                     -2-                 US v. Melkonyan, 14-083 KJM
      Motion for Bail Review
     Case 2:14-cr-00083-DJC-EFB Document 50 Filed 05/13/15 Page 3 of 3


1                                            ORDER
2             IT IS HEREBY ORDERED, the Court, having received, read, and
3    considered the parties’ stipulation, and good cause appearing therefrom, adopts the
4    parties’ stipulation in its entirety as its order. The Court specifically finds the
5    failure to grant a continuance in this case would deny counsel reasonable time
6    necessary for effective preparation, taking into account the exercise of due
7    diligence. The Court finds the ends of justice are served by granting the requested
8    continuance and outweigh the best interests of the public and defendant in a speedy
9    trial.
10            The Court orders the time from the date the parties stipulated, up to and
11   including May 19, 2015, shall be excluded from computation of time within which
12   the trial of this case must be commenced under the Speedy Trial Act, pursuant to
13   18 U.S.C. § 3161(h)(7)(A) and(B)(iv) [reasonable time for counsel to prepare] and
14   General Order 479, (Local Code T4). It is further ordered the May 18, 2015
15   Motion for Bail Review hearing shall be continued until May 19, 2015, at 2:00
16   p.m. before the Honorable Dale A. Drozd.
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18
     Dated: May 12, 2015
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      Stip to Continue                          -3-                   US v. Melkonyan, 14-083 KJM
      Motion for Bail Review
